Case 2:OO-cV-02608-STA-tmp Document 362 Filed 07/06/05 Page' ;LMQt».E.».Page|D 357

IN THE UNITED STATES DISTRICT COURT mm BY M °-°-
FOR THE WESTERN DISTRICT 0F TENNESSEE
WESTERN DIVISION 05 J'~"- "5 PH \' ll|

 

 

 

 

MARILYN JOHNSON, et al, ) Gj: '!',~`1_ LM
) .
Plaintiffs, )
)
v. ) No. 00-2608 "_"
)
CITY OF MEMPHIS, et al, )
)
Defendants. )
FLORENCE BILLINGSLEY, et al, )
)
Plaintiffs, )
) Consolidated Nos.
v. ) 04-2013
) 04-2017
CITY OF MEMPHIS, et al, )
)
I)efendants. )
ORDER ON TRIAL SCHEDULE
Thc trial of these matters will proceed in accordance with the Trial Schedule set forth
below:
DATE TIME
Week ()ne:
Monday, July 11, 2005 9:00 a.m. ~ 12:30 p.m.
2:00 p.m. - 5:00 p.m.
Tucsday, July 12, 2005 9:00 a.m. - 12:30 p.m.

2:00 p.m. - 4:45 p.m.

o p\\ c
T'n\s document entered on the docket sh

w\th Rule 58 and!or 79(a) FRGP on

 

CB.S€ 2200-CV-02608-STA-'[mp

Wec’nesday, July 13, 2005

Thursday, July 14, 2005
Friday, July 15, 2005
Week Two:

Monday, July 18, 2005

Tuesday, July 19, 2005

Wednesday, July 20, 2005

Thursday, July 21, 2005

Friday, July 22, 2005

Week Three:

Monday, July 25, 2005

Tuesday, July 26, 2005

Wednesday, July 27, 2005

Thursday, July 28, 2005

Friday, Juiy 29, 2005

 

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9:00 a.m. ~ 12:30 p.m.
2:00 p.m. - 5:00 p.m.

9:00 a.m. - 12:30 p.m.

Off

9:00 a.m. - 12:30 p.m.
2:00 p.m. - 5:00 p.m.

9:00 a.m. - 12:30 p.m.
2:00 p.m. - 5:00 p.m.

9:00 a.m. - 12:30 p.m.
2:00 p.m. - 5:00 p.m.

1:00 p.m. - 5:30 p.m.* (tentative)

9:00 a.rn. - 12:30 p.m.
2:00 p.m. - 5:00 p.m.' (tentative)

9:00 a.m. - 12:30 p.m.
2:00 p.m. - 5:00 p.m.

9:00 a.rn. - 12:30 p.m.
2:00 p.m. - 5:00 p.m.

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2:00 p.m. - 5:00 p.m.

9:00 a.rn. - 12:30 p.m.
2:00 p.m. - 5:00 p.m.

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* Hearings in a criminal matter are currently scheduled for July 21-22; thus, for speedy trial reasons, the
civil trial may not go forth on these dates. The Court will notify the parties as soon as possible whether the trial will

be heard on July 21 and 22.

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All parties are urged to communicate and prepare to present the evidence as efficiently as

possible.

IT rs so oRDERED this a "" day orJuly 2004.

 

UNITEI) STATES DISTRICT JUDGE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 362 in
case 2:00-CV-02608 was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

EsSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

